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1N THE UNITED STATES DISTRICT COURT FlLEo sr _ Dc
FOR THE WESTERN DIsrRICT or TENNESSEE ' '
WESTERN DIVISION 95 AUG 2a pH 3, '5
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UNITED sTATEs OF AMERICA leHK U.S. assist
W!D OF at teams
V. Cr. No. 05-20227-Ma
CLAUDY REDMOND

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The defendant notified the Court that he is unable to retain counsel in this matter. After
questioning the defendant regarding his financial status, the court appointed the Federal Defender's
Office to represent the defendant Pursuant to the Speedy Trial Act, as set out in 18 U.S.C. §
316l(h)(8)(A) and (B)(iv), the court may grant the defendant a period of excludable delay to serve
the ends of justice, while the defendant Was unrepresented by counsel..

IT IS THEREFORE ORDERED that the time period of August 17, 2005 through August 24,
2005 be excluded from the time limits imposed by the Speedy Trial Act for trial of this case.

ARRAIGNMENT IS RESET TO WEDNESDAY, August 24, 2005 at 9:30 a.m.

BEFORE MAGISTRATE JUDGE ANDERSON.

<S.”/'z;,,,,, @J

UNITED STATES MAGISTRA'I`E IUDGE

DATE:

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRch on g 'éc} 'Q§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20227 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

